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                 EXHIBIT B-124
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                                                                              FILED
                                                                                  INOFFICE.

                   IN THE SUPERIOR COURT OF FULTON COUNTY
                              STATEOF GEORGIA


IN RE 2 MAY 2022 SPECIAL PURPOSE
GRANDJURY                                             2022- EX-000024




                      ORDER ON MOTION TO DISQUALIFY

       On 20 January 2022, the District Attorney of Fulton County petitioned the Chief

Judge of the Superior Court of Fulton County to convene the Superior Court bench to

consider the District Attorney's request for a special purpose grand jury. That grand jury's

charter, if approved, would be to conduct a criminal investigation into "the facts and

circumstances relating directly or indirectly to possible attempts to disrupt the lawful

administration of the 2020 elections in the State of Georgia" and to prepare a report and

recommendation for the District Attorney advising her whether she should prosecute

anyone for such potential crimes. On 24 January 2022, the Chief Judge, having received

a majority of the twenty judges' assent, issued an Order authorizing the convening of a

special purpose grand jury for this criminal investigation.

       On 2 May 2022, the special purpose grand jury was selected and sworn in; in June

2022 it began receiving evidence and investigating the possibility of criminal interference

in the 2020 general election. One area of interest for the District Attorney and the special

purpose grand jury has been the slate of sixteen "alternate" electors the Republican Party ,

of Georgia advanced in the wake offormer President Trump's claims that the official

election count showing that Joe Eiden had won was somehow wrong. Eleven of these

electors are represented collectively by two attorneys, Holly Pierson and Kimberly



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Debrow.1 On 3 October 2022, the District Attorney challenged this arrangemept by filing

a motion to have the pair of lawyers disqualified from their joint representation of the

eleven electors. On 10 November 2022,                the electors' lawyers filed a response and·

provided the Court with written waivers of conflict from each of their eleven clients.

Based on these pleadings and the waivers each of the lawyers' clients has executed, the

Court GRANTSin part and DENIES in part the District Attorney's motion.

        This dispute implicates two of Georgia's Rules of Professional Conduct for

attorneys. Rule 1.7 of the Georgia Rules of Professional Conduct prohibits a lawyer from

representing a client "if there is a significant risk that ... the lawyer's duties to another

client ... will materially and adversely affect the representation of the client." Rule 1.7(a).

A client desirous of joint representation can waive such conflicts upon (1) consulting with

her lawyer, (2) receiving in writing "reasonable and adequate" information about the risks

of joint representation (and the alternatives thereto), and (3) having the opportunity to

speak with independent counsel. Rule 1.7(b). However, a client may not waive the

conflicts inherent in joint representation if one of the jointly represented clients is

asserting a claim against the other in the same proceeding or if it is "reasonably unlikely

that the lawyer will be able to provide adequate representation to one or more of the

affected clients." Rule 1.7(c).

        Rule 1.6 of the Georgia Rules of Professional Conduct provides that a lawyer "shall

maintain in confidence all information gained in the professional relationship with a




1Those eleven individuals are Mark Amick, Joseph Brannan, Brad Carver, Vikki Consiglio, John Downey,
Carolyn Fish, Kay Godwin, Cathy Latham, David Shafer, Shawn Still, and Chandra "CB" Yadav. While the
Republican Party of Georgia is paying for the legal services Ms. Pierson and Ms. Debrow are providing, each
of the eleven individuals has his or her own representation agreement with the two lawyers.
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client, including information ... the disclosure of which would ... likely be detrimental to

the client, unless the client gives informed consent." Rule 1.6(a).

        The District Attorney's primary basis for disqualification is her claim that there

exists a non-waivable conflict of interest for Pierson and Debrow to represent all eleven

alternate electors. The District Attorney posits that, given the electors' different levels of

engagement in the alternate· elector scheme (and other efforts to unwind the official

election results), Pierson and Debrow cannot adequately represent each despite any

waiver they may have executed. 2 Rule 1.7(c)(3). The District Attorney additionally argues

that it is only a matter of time before some electors begin providing information that is,

in effect, a claim against another elector, creating another form of non-waivable conflict.
                                      \




Rule 1.7(c)(2).

        Pierson and Debrow respond by asserting that the electors' roles were sufficiently

similar as to allow for joint representation.              They add that, because nothing illegal

occurred at any point in any of the work the electors did on behalf of the Republican Party

of Georgia, there are no adverse interests here; each of their clients is identically situated

.in the important sense that each did nothing wrong. Thus, there is no "information" that

one elector could provide that would constitute a claim against another elector.

        The District Attorney also points to Rule 1.6 as a bar to continued joint

representation, arguing that Pierson and Debrow have, through their collective

representation of the eleven alternate electors, undoubtedly obtained information from

their clients the disclosure of which would be detrimental to one client but beneficial to

another, creating an untenable (and non-waivable) scenario in which the lawyers, to

2
 The District Attorney's perspective on the electors' differing roles -- as well as the different investigative
approaches the District Attorney seeks to take with differently situated electors -- is set forth in the •
unredacted version of the District Attorney's motion.
                                                                                                           3
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benefit one client, would need to compromise the confidences of another.3 Pierson and

Debrow have an answer for that concern as well: their clients have all, separately and

severally, consented to the sharing of confidential information otherwise prohibited by

Rule 1.6. In other words, each elector has authorized Pierson and Debrow to share all

informati'on disclosed during their representation with the other electors and, if the

lawyers deem it proper, with outside parties such as the District Attorney's Office.

        After the District Attorney first raised the concern about the viability of joint

representation of all eleven alternate electors, 'each elector executed an "Informed

Consent to Continued Joint Representation." The Court has reviewed these waivers and

finds them thorough, sufficient, and knowingly and intelligently"'executed. 4 In each, the

client acknowledges having (1) spoken at length with Pierson and Debrow about the perks

and perils of joint representation, (2) received adequate information about alternatives to

joint representation, and (3) considered the opportunity to consult with independent

counsel. The waivers satisfy the requirements of Rule 1.7(b).

      • Of course, the best waiver in the world cannot fix a non-waivable conflict. But here,

at this phase of the District Attorney's investigation, when the end product of the special

purpose grand jury is not formal criminal charges but rather a recommendation on how

best ~o proceed towards such charges (if any), the Court finds very few such conflicts. It

is true that, someday -- if charges are brought, ·if those charges include any of the alternate

electors, and if Pierson and/ or Debrow continue to represent any of the electors -- one



3 Rule 1.7 also prohibits a waiver of conflict if the continued   representation would violate another Rule of
Professional Conduct. Rule 1.7(c)(1).

4 The eleven waivers are included as a sealed exhibit to this Order, as is the thirteen-pagesingle-spaced
memorandum Pierson and Debrow provided each client addressing the concerns raised by the District
Attorney about persisting with joint representation and the risks and benefits of doing so.
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elector might be called upon to testify against another during a criminal trial. And at that

point, the Rules of Professional Conduct (and the caselaw applying them) are clear:

Pierson and Debrow likely could not represent either such elector. See, e.g., Registe v.

State, 287 Ga. 542,544 (2010); Edwards v. State, 336 Ga. App. 595 (2016); see also Rule

1.9 of the Georgia Rules of Professional Conduct. But that is a remote and hypothetical

scenario that does not now exist. The Court finds that the allegations of current or near-

term potential conflict that the District Attorney has iterated in the redacted portions of

her pleading are waivable and have been effectively waived -- in most instances.

       The exception is David Shafer. Given the information before the Court about his

role in establishing and convening the slate of alternate electors, his communications with

other key players in the District _Attorney's investigation, and his role in other post-

election efforts to call into question the validity of the official vote count in Georgia, the

Court finds that he is substantively differently situated from the other ten clients jointly

represented by Pierson and Debrow. His signed waiver may be identical, but his situation

is not. He is not just another alternate elector; his lawyers' repeated incantation of the

"lawfulness" of the 2020 alternate electoral scheme and invocation of a separate electoral

process from 60 years ago and 4,500 miles away do not apply to the additional post-

election actions in which Shafer engaged that distinguish him from the ten individuals

with whom he shares counsel. His fate with the special purpose grand jury (and beyond)

is not tethered to the other ten electors in the same manner in which those ten find

themselves connected.

       This imbalance in exposure to the District Attorney's investigation makes it

impractical and arguably unethical for Pierson and Debrow to represent all eleven

together:

                                                                                             5
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        Loyalty to a client is impaired when a lawyer cannot consider, recommend
        or carry out an appropriate course of action for the client because of the
        lawyer's other competing responsibilities or interests. The conflict in effect
        forecloses alternatives that would otherwise be available to the client.

Comment 2 to Rule 1.7; see also Cohen v. Rogers, 338 Ga. App. 156, 170 (2016). The

Court need not detail the obvious steps' Pierson and Debrow cannot take to advance the

other ten electors' interests during this investigation because of competing obligations to

elector/Chairman Shafer.

        Thus, while courts "must recognize a presumption in favor of an [individual's]

counsel of choice,"s that presumption "may be overcome not only by a demonstration of

actual conflict of interest but by a showing of a serious potential for conflict." Heidt v.

State, 292 Ga. 343, 346 (2013), quoting Wheat v. United States, 486 U.S. 153, 164 (1988)

(punctuation omitted).          Here that potential is profound and growing as the special

purpose grand jury approaches the end of its work.

        The Court appreciates that "lawyers are not fungible." Lewis v. State, 312 Ga. App.

275, 280, n.8 (2011). Requiring Shafer (or the ten other electors) to obtain new counsel

brings unwelcome consequences, "including the loss of time, money, choice of counsel,

and specialized knowledge of the disqualified attorney." Hodge v. URFA-Sexton, LP, 295

Ga. 136, 138 (2014). 6 The Court is also mindful that a motion to disqualify "should be

viewed with caution ... for it can be misused as a technique of harassment," Comment 15



s The District Attorney has urged the Court to weigh less heavily an individual's right to counsel of his
choosing in the context of this special purpose grand jury proceeding. See, e.g., United States v.
Mandujano, 425 U.S. 564, 581 (1976); United States v. Gaddy, 894 F.2d 1307, 1315(11th Cir. 1990). The
argument is moot, given the Court's findings here, but also ironic, given how forcefully the District Attorney
has previously articulated that these are criminal proceedings with very real ramifications for the
individuals involved.
6 Given that the Republican Party of Georgia has paid for Shafer's representation to date, pecuniary loss is

minimal or non-existent. Presumably the Party will obtain new (and independent) counsel for its Chair or
the other ten electors.
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to Rule 1.7, and that disqualification is "an extraordinary remedy that should be granted

sparingly." Hodge, 295 Ga. at 139. But here the Court is confronted with an extraordinary

situation: the same lawyers are representing not one or two but eleven different targets of

the District Attorney's investigation. While those lawyers have made a convincing case

that all their clients have elected to maintain joint representation, even after having been

elevated to the status of target, the lawyers have not made a sufficient showing that David

Shafer should remain in that pool of jointly represented clients:

        when a disinterested lawyer would conclude that the client should not agree
        to the representation under the circumstances, the lawyer involved cannot
        properly ask for such agreement or provide representation on the basis of
        the client's informed consent.

•Comment 5 to Rule 1.7. A disinterested lawyer would not advise the other ten electors to

share counsel with David Shafer. As such, the joint representation must end. 7

        Attorneys Pierson and Debrow may represent David Shafer or the other ten

alternate electors -- but not both -- in connection with the special purpose grand jury's

investigation into potential criminal interference with the 2020                    general election in

Georgia. Given the terms of the eleven executed waivers (including Shafer's), either

• option is legally and ethically tenable, but that is a decision for those parties and their

lawyers to make.

        SO ORDERED this 30 th day of November 20




                                                            dge Robert C.I. Mc urney
                                                          Superior Court of Fulton County


7 A client's waiver of his attorney'sconflict of interest "does not always cure the problem, because courts
have an independent interest in ensuring" that criminal matters "are conducted within the ethical standards
of the profession and that legal proceedings appear fair to all who observe them." Registe v. State, 287 Ga.
542,544 (2010). The Court finds that Shafer's waiver is just such a non-curative waiver.
                                                                                                          7
